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                                                                                           FILED
                                                                                       IN CLERK'S OFFICE
                                                                                  U.S. DISTRICT COURT E.D.N.Y.
                             ARANOSIAN OIL COMPANY,INC.
                                557 NORTH STATE STREET
                                                                                 *       MAY 2 3 2019          ★
                                    CONCORD,NH 03301
                                          603-224-7500                              BROOKLYN OFFICE




                                                                             May 20,2019
    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK



   In re PAYMENT CARD INTERCHANGE
   FEE AND MERCHANT DISCOUNT                                       No.05-MD-01720(MKB)(JO)
    ANTITRUST LITIGATION



     STATEMENT OF OBJECTIONS OF CLASS MEMBER ARANOSIAN OIL CO..INC.

           Aranosian Oil Co., Inc. (hereinafter "Company") accepted Visa and Mastercard
   transaction cards between 2004 and the present date. Company is a member ofthe Rule 23(b)(3)
   settlement class in this case, and it has not engaged in any other settlement of its claims against
   Visa and/or Mastercard. Company hereby submits its objections to the proposed settlement
    preliminarily approved by the Court in January of this year.

          Company is located at 557 North State St., Concord, NH 03301. Company is a
   petroleum marketer engaged in the wholesale and retailsale of branded motor fuels. Since
   1970's, it has accepted Visa and Mastercard transaction cards at retail service station and
   convenience store locations. Motor fuels at these locations have been sold under the Sunoco,
   Citgo, and Mobil brands since 2004, and the credit card transactions at each location were
   processed by the applicable branded supplier.

           Company is concerned that the Court will concur in the arguments of Defendants that
   certain major oil company branded suppliers are entitled to file claims against the settlement
   fund for transactions at retail locations where Company accepted the applicable Visa or
   Mastercard transaction cards and paid the interchange fees. Company understands that the Court
   has indicated that class counsel cannot represent both the branded suppliers and branded
   marketers, like Company, because only one of the two groups is entitled to settlement funds
   attributable to Company's retail locations.None of the class representatives were branded
   marketers, and branded marketer interests were not represented when the settlement was
   negotiated. Nor are they adequately represented now by a conflicted class counsel who are
   incapable of asserting branded marketer interests when they conflict with the interests of major
   oil companies.

           As of now. Company is totally in the dark as to whether, having accepted the cards and
   paid the interchange fees, it is part ofthe settlement class, whether it is entitled to a full or partial
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   recovery, or whether any mechanism is in place to sort all of this out. Nothing in the Class
   Notice states whether Company or its branded supplier(whose fuel Company sells) have a right
   to recover for transactions at these locations. In short, Company is concerned that it is being
   deprived of its legal right to fully participate in the settlement.

          In addition to not knowing what recovery Company may be entitled to as part of the class
   settlement, we do not believe that proper efforts are being made to notify branded marketers, like
   Company, so that they can object to the settlement. Company is aware that a Class Notice has
   gone out but it was not mailed a copy by the Claims Administrator. The names and addresses of
   branded petroleum marketers, like Company, can be obtained by the Claims Administrator from
   the branded suppliers.

          Branded marketers should be informed now whether a procedural mechanism will be put
   in place to determine whether, and to what extent, branded marketers will participate in the
   settlement, what evidence they need to present, and whether there will be procedural hurdles they
   need to overcome to claim their rights as class members. Unless and until these issues are
   addressed and properly resolved by the Court, Company respectfully objects to the class
   settlement.


                                                Respectfully submitted,

                                                Aranosian Oil Co., Inc.



                                                By: E}t5yd W.Hayes^II


                                               PrincipalA/'.P


   FWH/sh
